                  IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


AMY BRYANT, M.D., BEVERLY GRAY,     )
M.D., ELIZABETH DEANS, M.D.,        )
and PLANNED PARENTHOOD SOUTH        )
ATLANTIC,                           )
                                    )
               Plaintiffs,          )
                                    )
     v.                             )        1:16CV1368
                                    )
JIM WOODALL, ROGER ECHOLS,          )
ELEANOR E. GREENE, and RICK         )
BRAJER, 1 each in their official    )
capacity,                           )
                                    )
               Defendants.          )


                    MEMORANDUM OPINION AND ORDER

OSTEEN, JR., District Judge

     This matter is before this court for review of the

Memorandum Opinion, Order, and Recommendation (“Recommendation”)

filed on August 24, 2018, by the Magistrate Judge in accordance

with 28 U.S.C. § 636(b). (Doc. 71.) In the Recommendation, the

Magistrate Judge recommends that Plaintiffs’ Second Motion for

Summary Judgment (Doc. 44) be denied and that this action be




     1Effective January 13, 2017, Mandy K. Cohen, MD, MPH was
appointed as the Secretary of the North Carolina Department of
Health and Human Services. Secretary Cohen is the successor to
former Secretary Rick Brajer. Pursuant to Fed. R. Civ. P. 25(d),
Secretary Cohen is automatically substituted as a party
defendant for all claims asserted against Rick Brajer in his
official capacity as former Secretary of the North Carolina
Department of Health and Human Services.




    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 1 of 48
dismissed for want of subject-matter jurisdiction due to

Plaintiffs’ lack of standing. The Recommendation was served on

the parties to this action on August 24, 2018 (Doc. 72).

Plaintiffs have filed objections, (Doc. 73), to the

Recommendation. Pursuant to this court’s order, (Doc. 74),

Plaintiffs filed a Supplemental Memorandum in support of their

objections to the Recommendation, (Doc. 75), Defendants

responded, (Doc. 76), and Plaintiffs replied, (Doc. 82).

     Following de novo review, this court agrees with the

Recommendation as the record existed before the Magistrate Judge

and, further, agrees with the Magistrate Judge that Plaintiffs

failed to establish standing on that record. However, on the

record and briefing submitted following issuance of the

Recommendation, this court finds that Plaintiffs have established

standing to challenge the twenty-week abortion ban set forth in

N.C. Gen. Stat. § 14-45.1 and related statutes. This court

further finds that Plaintiffs’ second motion for summary judgment

should be granted and that N.C. Gen. Stat. § 14-45.1(a) should be

enjoined.

     As noted above, this court agrees with the Magistrate

Judge’s Recommendation on the record before that court. It bears

noting that, in the opinion of this court, Plaintiffs’ counsel in

this matter completely failed to heed the admonition of the

Magistrate Judge as to concerns of standing and instead attempted

                                 - 2 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 2 of 48
to proceed on a theory that Plaintiffs have standing as a matter

of law. (See (Doc. 66) at 9 (“Put simply, the standing of

abortion providers — like Plaintiffs — to challenge criminal

statutes — like the ban — ‘is not open to question.’”).) 2 As this

court made clear in its request for supplemental briefing, (see

Suppl. Briefing Order (Doc. 74)), this court is not aware of any

automatic right of standing to challenge an abortion regulation

and “imaginary or speculative” fears of prosecution are

insufficient to confer standing. Younger v. Harris, 401 U.S. 37,

42 (1971).

     The Magistrate Judge quite clearly expressed a sound concern

over the parties’ failure to address standing — specifically,

whether Plaintiffs could establish a credible threat of

prosecution. As a result, that court requested further briefing

on the issue. (See Doc. 65 at 3-5.) Rather than respond to the

Magistrate Judge’s request, Plaintiffs persisted in relying upon

an argument that standing “is not open to question,” (Doc. 66 at

9), and that “[d]ecades of black letter law establish that

physicians, like Plaintiffs, who challenge criminal laws that

prevent them from providing abortion care to patients have

Article III standing.” (Doc. 73 at 6-7.) Plaintiffs’ arguments


     2 All citations in this Memorandum Opinion and Order to
documents filed with the court refer to the page numbers located
at the bottom right-hand corner of the documents as they appear
on CM/ECF.
                                 - 3 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 3 of 48
were neither responsive nor persuasive to the issues identified

by the Magistrate Judge.

     It was only after this court requested supplemental briefing

on the issues identified by the Magistrate Judge, (Suppl.

Briefing Order (Doc. 74)), and offered to allow Plaintiffs to

“submit the case based solely upon their current position,” (id.

at 7-8), that Plaintiffs fully addressed the issues critical to

standing.

     In light of the foregoing, it appears to this court that

there has been unnecessary delay and judicial resources have been

wasted to some degree because Plaintiffs’ counsel have been

unwilling or unable to address the issue of standing as necessary

in this case. This court has considered whether the

Recommendation should be adopted and the case dismissed in light

of the failure of Plaintiffs to establish standing before the

Magistrate Judge. “The party invoking federal jurisdiction bears

the burden of establishing” the three elements of standing, Lujan

v. Defenders of Wildlife, 504 U.S. 555, 561 (1992), and

Plaintiffs failed to do so before the Magistrate Judge. However,

     as part of its obligation to determine de novo any
     issue to which proper objection is made, a district
     court is required to consider all arguments directed to
     that issue, regardless of whether they were raised
     before the magistrate. By definition, de novo review
     entails consideration of an issue as if it had not been
     decided previously.



                                 - 4 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 4 of 48
United States v. George, 971 F.2d 1113, 1118 (4th Cir. 1992)

(footnote omitted). After further consideration, this court will

evaluate the supplemental briefing and enter an opinion which

ultimately amounts to a complete de novo review and analysis.

Notwithstanding the new review and analysis, this court is

concerned by the conduct of Plaintiffs’ counsel of the briefing

in this case. Plaintiffs request an award of “their reasonable

costs and attorney’s fees pursuant to 42 U.S.C. § 1988.”

(Complaint (“Compl.”) (Doc. 1) ¶ 57). Counsel are hereby advised

that, in light of the conduct summarized above, should Plaintiffs

petition for attorney’s fees, this court will carefully

scrutinize any billing during the time between the Magistrate

Judge’s request for supplemental briefing and this court’s

request for supplemental briefing. Plaintiffs may face a heavy

burden to receive an award for attorney’s fees incurred during

that time period.

I.   FACTUAL BACKGROUND

     The relevant facts are recounted in detail in the

Recommendation and this court will provide only a brief summary

here.

     North Carolina has banned abortion by statute for over one

hundred years. See 1881 N.C. Sess. Laws 351. N.C. Gen. Stat.




                                  - 5 -



     Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 5 of 48
§§ 14–44 and 14–45 criminalize abortion generally and remain on

the statute books. 3 N.C. Gen. Stat. § 14–45.1(a) was amended in

1973 to provide that, notwithstanding this general ban, “it shall

not be unlawful” to perform an abortion before the twenty-week

point of a pregnancy. See 1973 N.C. Sess. Laws 711 (H.B. 615).

This framework contains certain statutory exceptions, including

an exception permitting abortion after twenty weeks in the case

of “a medical emergency.” See N.C. Gen. Stat. § 14-45.1(b). The

parties have not identified any prosecutions for performing an

abortion in violation of the criminal statutes during the forty-

five-year history of the current statutory framework. 4

     The North Carolina legislature amended N.C. Gen. Stat.

§ 14-45.1, effective in 2016. See 2015 N.C. Sess. Laws 2015-62

(H.B. 465). The pre-amendment version of N.C. Gen. Stat.

§ 14-45.1 permitted an abortion after the twentieth week of

pregnancy when there was “substantial risk that the continuance

of the pregnancy would threaten the life or gravely impair the



     3  North Carolina historically prosecuted abortion doctors
under these statutes. See, e.g., State v. Hoover, 252 N.C. 133,
136, 113 S.E.2d 281, 284 (1960).
     4  The Magistrate Judge identified a single indictment for
violating the twenty-week ban in 1987 and, as explained, this
instance does not provide a credible threat of prosecution. (See
Recommendation (Doc. 71) at 28 n.13.) The sole prosecution under
the statute, which was later dismissed in a superseding
indictment, was against a defendant charged with murdering a
pregnant woman rather than against a doctor carrying out a
medical procedure. (Id.)
                                 - 6 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 6 of 48
health of the woman.” 5 See id. The amended version of the statute

permits an abortion after the twentieth week of pregnancy “if

there existed a medical emergency as defined by G.S. 90-

21.81(5).” See id.; N.C. Gen. Stat. § 14-45.1(b). N.C. Gen. Stat.

§ 90-21.81(5) defines a “medical emergency” as:

      A condition which, in reasonable medical judgment, so
      complicates the medical condition of the pregnant woman
      as to necessitate the immediate abortion of her
      pregnancy to avert her death or for which a delay will
      create serious risk of substantial and irreversible
      physical impairment of a major bodily function, not
      including any psychological or emotional conditions.
      For purposes of this definition, no condition shall be
      deemed a medical emergency if based on a claim or
      diagnosis that the woman will engage in conduct which
      would result in her death or in substantial and
      irreversible physical impairment of a major bodily
      function.

II.   PROCEDURAL HISTORY

      Plaintiffs filed their complaint in this case on

November 30, 2016, (Compl. (Doc. 1)), and initially moved for

summary judgment on December 14, 2016, (Doc. 13). The Magistrate

Judge then granted Defendants’ Rule 56(d) motion for limited

discovery to respond to Plaintiffs’ allegations, (Doc. 31), and

this court affirmed that ruling, (Doc. 36). Plaintiffs again

moved for summary judgment, (Doc. 44), and Defendants opposed




      5This language was enacted in 1967 as an exception to the
then-existing total abortion ban and thus pre-dates the twenty-
week ban. See 1967 N.C. Sess. Laws 367 (S.B. 104).

                                   - 7 -



      Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 7 of 48
that motion. (Defs.’ Resp. to Pls.’ Second Mot. for Summ. J.

(“Defs.’ Resp. Br.”) (Doc. 52).)

     During discovery, Plaintiffs each responded to

interrogatories and document requests from Defendants. (See Docs.

53-1 through 53-4.) Plaintiffs deposed Defendants’ expert

witnesses, Martin J. McCaffrey, M.D., (Deposition of Martin J.

McCaffrey (“McCaffrey Dep.”) (Doc. 53-5)), and John M. Thorp,

Jr., M.D., (Deposition of John M. Thorp, Jr. (“Thorp Dep.”) (Doc.

59-1).) In addition, certain amici curiae filed a brief opposing

Plaintiffs’ second motion for summary judgment. 6 (Doc. 50–1.)

III. STANDARD OF REVIEW ON MAGISTRATE JUDGE’S RECOMMENDATION

     This court is required to make “a de novo determination of

those portions of the [Magistrate Judge’s] report or specified

proposed findings or recommendations to which objection is made.”

28 U.S.C. § 636(b)(1). This court “may accept, reject, or modify,

in whole or in part, the findings or recommendations made by the

[M]agistrate [J]udge. . . . or recommit the matter to the

[M]agistrate [J]udge with instructions.” Id.

     This court may, but is not required to, apply a clearly

erroneous standard to any part of the Magistrate Judge’s


     6 Specifically, the states of West Virginia, Alabama,
Arkansas, Indiana, Louisiana, Michigan, Nebraska, Ohio,
Oklahoma, South Carolina, South Dakota, and Texas assert that
North Carolina’s twenty-week abortion ban does not violate the
United States Constitution under controlling Supreme Court
precedent. (Doc. 50–1.)
                                 - 8 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 8 of 48
recommendation not specifically objected to by the parties.

Diamond v. Colonial Life Accident Ins. Co., 416 F.3d 310, 315

(4th Cir. 2005); see also Fed. R. Civ. P. 72(b) advisory

committee’s note to 1983 addition (“When no timely objection is

filed, the court need only satisfy itself that there is no clear

error on the face of the record in order to accept the

recommendation.”) (emphasis added). “A finding is clearly

erroneous when although there is evidence to support it, the

reviewing court on the entire evidence is left with the definite

and firm conviction that a mistake has been committed.” United

States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948) (internal

quotations omitted).

IV.   STANDING

      A.    Legal Framework

      The doctrine of standing “ensure[s] that federal courts do

not exceed their authority as it has been traditionally

understood.” Spokeo, Inc. v. Robins, 578 U.S. ___, 136 S. Ct.

1540, 1547 (2016). Because standing is a jurisdictional

requirement, it can be raised at any time by any party or by the

court. See Plyler v. Moore, 129 F.3d 728, 731 n.6 (4th Cir.

1997). A plaintiff has Article III standing when he or she has

“(1) suffered an injury in fact, (2) that is fairly traceable to

the challenged conduct of the defendant, and (3) that is likely

to be redressed by a favorable judicial decision.” Spokeo, 136 S.

                                   - 9 -



      Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 9 of 48
Ct. at 1547 (internal citations omitted). Standing is an element

within the “case-or-controversy” analysis, which limits the scope

of federal jurisdiction to only those cases where a genuine

dispute exists between the parties. See generally Beck v.

McDonald, 848 F.3d 262, 269 (4th Cir.), cert. denied, ___ U.S.

____, 137 S. Ct. 2307 (2017).

     Both parties agree that the relevant question in this case

is whether a plaintiff has suffered an injury in fact based

solely on the threat of a possible future prosecution under N.C.

Gen. Stat. § 14–45.1 and related statutes. (See Pls.’ Suppl. Mem.

in Supp. of Obj. (“Pls.’ Suppl. Mem.”) (Doc. 75) at 6–7; Defs.’

Resp. to Suppl. Briefing Order (“Defs.’ Resp.”) (Doc. 76) at 2–

3.) The injury-in-fact analysis is governed by the test set forth

in Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289

(1989). Namely, Plaintiffs must “allege[] an intention to engage

in a course of conduct arguably affected with a constitutional

interest, but proscribed by a statute, and [that] there exists a

credible threat of prosecution thereunder.” Id. at 298.

     Defendants do not appear to dispute that Plaintiffs have

alleged the intent to engage in conduct “affected with a




                                - 10 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 10 of 48
constitutional interest.” 7 It is also undisputed that providing

an abortion after the twenty-week point of a pregnancy is

currently unlawful in North Carolina. Therefore, the standing

result in this case turns solely on whether there is a “credible

threat of prosecution” under N.C. Gen. Stat. § 14-45.1 and

related statutes. This is a fact-specific inquiry that asks

whether a reasonable person would fear prosecution under the

statute given the historical circumstances and official

statements about possible future enforcement. See Babbitt, 442

U.S. at 302 (“Appellees are thus not without some reason in

fearing prosecution for violation of the ban on specified forms

of consumer publicity.”); Laird v. Tatum, 408 U.S. 1, 14 (1972)

(stating that a plaintiff must show “specific present objective

harm or a threat of specific future harm” to have standing, and

noting that a subjective fear will not suffice); Thomas v.

Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1139 (9th Cir.

2000) (“In evaluating the genuineness of a claimed threat of

prosecution, we look to whether the plaintiffs have articulated a

concrete plan to violate the law in question, whether the




     7 Nor can they reasonably dispute such intent. It is well-
established that the Fourteenth Amendment encompasses a right to
abortion, defined and limited by Supreme Court precedent. See
Planned Parenthood of Southeastern Pa. v. Casey, 505 U.S. 833,
846 (1992) (“Constitutional protection of the woman's decision
to terminate her pregnancy derives from the Due Process Clause
of the Fourteenth Amendment.”).
                                 - 11 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 11 of 48
prosecuting authorities have communicated a specific warning or

threat to initiate proceedings, and the history of past

prosecution or enforcement under the challenged statute.”).

          1.   Historical Record of Prosecutions

     The threat of prosecution under a statute must be

objectively reasonable under the circumstances for plaintiffs to

have standing. See Doe v. Duling, 782 F.2d 1202, 1206 (4th Cir.

1986). When no offenders have been prosecuted under the law for a

lengthy period, this factor suggests that only a theoretical

threat exists, that any fear is subjective and unreasonable, and

that plaintiffs likely do not have standing to challenge the law.

See Poe v. Ullman, 367 U.S. 497, 499–502 (1961) (holding that the

plaintiffs lacked standing to challenge a Connecticut

contraception ban where there were no prosecutions during the

statute’s eighty-two-year history and the statute was openly

violated, despite the state’s purported intention to prosecute

violations); see also Duling, 782 F.2d at 1204, 1206–07 (finding

that the threat of prosecution under a Virginia fornication ban

was “only the most theoretical” where “the last recorded

conviction for private, consensual cohabitation occurred” one

hundred years prior, violations were common, and members of law

enforcement expressed doubt that the statute in fact restricted

private, consensual behavior).



                                - 12 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 12 of 48
     Specifically, the mere existence of a criminal statute

without more (historical prosecution, official threats of

prosecution, recent legislative amendment, or prosecution under

related statutes) is ordinarily not enough to establish a

credible threat of prosecution. See Winsness v. Yocom, 433 F.3d

727, 732 (10th Cir. 2006) (“The mere presence on the statute

books of an unconstitutional statute, in the absence of

enforcement or credible threat of enforcement, does not entitle

anyone to sue.”); but see Epperson v. Arkansas, 393 U.S. 97, 109–

10 (1968) (Black, J., concurring) (noting doubts about

plaintiff’s standing to challenge an Arkansas anti-evolution law

that was not enforced for almost forty years, where the majority

assumed standing and moved straight to the substantive

constitutional analysis); Duling, 782 F.2d at 1206 (identifying

Epperson as belonging to a class of cases where “the chilling

effect of a statute is so powerful and the rights it inhibits so

important that the mere existence of the statute may warrant

judicial intervention”).

     On the other end of the spectrum, a law that the state

consistently enforces is clearly subject to challenge. See, e.g.,

Mausolf v. Babbitt, 85 F.3d 1295, 1302 (8th Cir. 1996) (finding

that the members of a snowmobiling club had standing to challenge

regulations restricting trail use that were being actively

enforced and prevented the members from viewing wildlife).

                                - 13 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 13 of 48
Relatedly, the case law suggests that a recently-enacted law is

likely to create a credible threat of prosecution even if the

state has yet to prosecute individuals for violating the statute.

See, e.g., Doe v. Bolton, 410 U.S. 179, 188 (1973) (holding that

plaintiffs had standing to challenge a Georgia abortion statute

that was “recent and not moribund” and was the successor to a

statute under which doctors were prosecuted); see also Mobil Oil

Corp. v. Attorney Gen. of Va., 940 F.2d 73, 76 (4th Cir. 1991)

(finding that plaintiffs had standing to challenge a recently-

enacted statute when the state attorney general was silent

regarding prospective enforcement; holding that “[w]e see no

reason to assume that the Virginia legislature enacted this

statute without intending it to be enforced”).

     For example, in American Booksellers Association v.

Virginia, 802 F.2d 691 (4th Cir. 1986), vacated on other grounds,

488 U.S. 905 (1988) (“Booksellers I”), plaintiffs challenged an

obscene material sales ban that had been recently amended to

prohibit the display of such materials where children might be

able to view them. Id. at 693. The Fourth Circuit held that the

plaintiffs had standing and noted that “[i]t would be

unreasonable to assume that the General Assembly adopted the 1985

amendment without intending that it be enforced.” Id. at 694 n.4.

In its initial review of the case, the Supreme Court agreed that

the plaintiffs had standing and noted that “[t]he State has not

                                - 14 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 14 of 48
suggested that the newly enacted law will not be enforced, and we

see no reason to assume otherwise.” Virginia v. Am. Booksellers

Ass’n, 484 U.S. 383, 393 (1988) (“Booksellers II”).

          2.   Open and Notorious Violations

     Where a long period of time has passed with no prosecutions

under a criminal statute, the question of whether the statute is

openly violated without consequence becomes relevant to the

standing analysis. See Ullman, 367 U.S. at 502 (noting the fact

that “contraceptives are commonly and notoriously sold in

Connecticut drug stores” as a feature suggesting no credible

threat of prosecution) (footnote omitted). A lack of prosecutions

may simply indicate scrupulous compliance with the law. However,

when individuals publicly engage in behavior that violates the

law and suffer no legal consequence, this suggests that the state

has acquiesced to such conduct and that no constitutional injury

inures to those seeking to challenge the statute. See, e.g.,

Duling, 782 F.2d at 1204 (noting that “fornication and

cohabitation are common forms of conduct in society generally and

in the City of Richmond in particular”) (internal quotation marks

omitted); Winsness, 433 F.3d at 732 (“Mr. Larsen openly engaged

in conduct he believes was in violation of the Utah flag-abuse

statute, and suffered no consequences.”).




                                - 15 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 15 of 48
          3.   Government Statements regarding Prosecution

     There is almost certainly a credible threat when the

government actively threatens to prosecute individuals under a

specific statute. See, e.g., Steffel v. Thompson, 415 U.S. 452,

459 (1974) (finding that a plaintiff who had been warned to stop

distributing leaflets and threatened with arrest if he did not

cease had standing to challenge a criminal trespass law on First

Amendment grounds). Because no one is ever required to engage in

prohibited conduct and risk criminal sanction when the threat of

prosecution is real, threats alone can confer standing. See,

e.g., Babbitt, 442 U.S. at 298; see also Booksellers I, 802 F.2d

at 694 (“[A] plaintiff does not have to expose himself to

prosecution when a statute imposes a criminal penalty.”).

     Public statements disavowing an intent to prosecute

offenders under the relevant statute weigh against standing by

making the threat of prosecution less credible. See, e.g.,

Babbitt, 442 U.S. at 302 (looking to whether the “[s]tate has . .

. disavowed any intention of invoking the criminal penalty

provision” as a factor to determine whether plaintiffs had

standing); Holder v. Humanitarian Law Project, 561 U.S. 1, 15–16

(2010) (finding that the plaintiffs had standing to bring a pre-

enforcement constitutional    challenge to a terrorism material-

support statute, in part because the government had initiated

prosecutions thereunder and failed to disavow the statute); see

                                - 16 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 16 of 48
also Booksellers II, 484 U.S. at 383; Bronson v. Swenson, 500

F.3d 1099, 1108 (10th Cir. 2007) (stating that “affirmative

assurances of non-prosecution from a governmental actor

responsible for enforcing the challenged statute [may] prevent[]

a threat of prosecution from maturing into a credible one, even

when the plaintiff previously has been arrested under the

statute”) (internal quotation marks omitted).

     There is no requirement that the state’s disavowal of

prosecution carry the force of law or come in any specific form.

Under the objective standard that governs the “credible threat”

analysis, the disavowal must simply assure a reasonable person

that there is no risk to them of engaging in protected conduct

proscribed by the statute. When an official disavowal is issued,

courts proceed to evaluate whether the facts and circumstances

surrounding the disavowal make it sufficient to eliminate any

reasonable fear of prosecution and negate standing. Compare Va.

Soc. for Human Life, Inc. v. Fed. Elec. Comm’n, 263 F.3d 379, 388

(4th Cir. 2001) (finding that an unofficial policy statement did

not negate the credible threat of prosecution because it did not

have the force of law and was subject to change if members of the

commission turned over), with Mink v. Suthers, 482 F.3d 1244,

1254–55 (10th Cir. 2007) (holding that a district attorney’s

“no file” letter disavowing the intent to prosecute plaintiff

specifically removed the credible threat of prosecution, even

                                - 17 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 17 of 48
though it was not binding on successors and did not completely

eliminate any possibility of future prosecution).

     B.   Analysis

          1.   Historical Record of Prosecutions

     Most precedential cases deal with either (1) statutes that

have not been enforced for many decades, see Ullman and Duling,

or (2) recently-enacted laws for which standing is generally

assumed, see Bolton. N.C. Gen. Stat. § 14-45.1(a) presents a

relatively unique factual scenario: the portion of the statute

that Plaintiffs challenge as unconstitutional under Casey, the

twenty-week abortion ban, remains unchanged from the version

originally enacted in 1973. That law is the successor statute to

a North Carolina law under which abortion doctors were

prosecuted. The state legislature recently amended other portions

of the same statutory framework — specifically, the language of

the medical emergency exception — but did not amend the twenty-

week ban itself.

     This case falls somewhere in the middle of the spectrum

described above. The 2016 amendment does not erase the historical

lack of prosecutions and completely reset the clock, nor does it

make this case equivalent to one in which the state legislature

had only recently passed an abortion ban. See, e.g., Isaacson v.

Horne, 716 F.3d 1213, 1217–18, 1221 (9th Cir. 2013) (finding that

plaintiffs, who brought suit in July 2012, had standing to

                                - 18 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 18 of 48
challenge Arizona’s twenty-week abortion ban passed in April

2012). However, the amendment is at least a factor in evaluating

the objective reasonableness of Plaintiffs’ professed fear of the

twenty-week ban and belief that the ban could be enforced at any

time. See Booksellers I, 802 F.2d at 693. This is true because

the ban and the medical emergency and other exceptions thereto

form part of a unitary scheme regulating abortion in North

Carolina. See, e.g., McCorvey v. Hill, 385 F.3d 846, 849 (5th

Cir. 2004) (explaining that Texas abortion laws constituted a

unified scheme and that old criminal statutes from the pre-Roe

era were repealed by implication as inconsistent with the current

regulatory framework).

     Defendants state in their supplemental brief that they “do

not believe that, in common English language usage, the two

maternal health exceptions are meaningfully different or that one

is more or less strict and/or narrow than the other.” (Defs.’

Resp. (Doc. 76) at 10.) It is well-established that changes to

statutory language are presumed to have substantive meaning. See

Stone v. INS, 514 U.S. 386, 397 (1995) (“When Congress acts to

amend a statute, we presume it intends its amendment to have real

and substantial effect.”); cf. Walters v. Nat’l Ass’n of

Radiation Survivors, 473 U.S. 305, 317–18 (1985) (finding that a

minor change in a law between the time it was passed and the time

it was codified did not necessarily have substantive meaning).

                                - 19 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 19 of 48
Contrary to this doctrine, Defendants argue that the 2016

amendment in fact made no substantive change to the twenty-week

ban’s medical exception.

     The 2016 amendment of N.C. Gen. Stat. § 14-45.1 was

extensive. See 2015 N.C. Sess. Laws 2015-62 (H.B. 465). The

amendment imposed substantial reporting obligations on abortion

providers for any abortion performed after sixteen weeks,

expanded the universe of medical facilities from which

information is collected, restricted the type of doctor who may

perform an abortion in the state, and lengthened the informed

consent waiting period from twenty-four to seventy-two hours.

See id.

     The amendment also completely revamped the medical exception

to the twenty-week ban. The pre-2016 exception permitted

abortions when there was “substantial risk that continuance of

the pregnancy would threaten the life or gravely impair the

health of the woman.” Id. The current statute permits abortions

only due to “a condition which . . . necessitate[s] the immediate

abortion of [the] pregnancy to avert [the mother’s] death or for

which a delay will create serious risk of substantial and

irreversible physical impairment of a major bodily function, not

including any psychological or emotional conditions.” N.C. Gen.

Stat. § 90-21.81(5) (emphasis added).



                                - 20 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 20 of 48
     This court finds that the 2016 amendment substantively

altered a woman’s ability to obtain a post-viability abortion in

North Carolina. Any other interpretation is inconsistent with the

plain language of the amendment, because, as Plaintiffs observe,

the new exception does not appear to cover degenerative diseases

that may gravely impair the mother’s health over a gradual period

but never necessitate immediate abortion at any point to save the

mother’s life. (See Pls.’ Supp. Mem. (Doc. 75) at 13.)

Defendants’ proffered interpretation also is not convincing when

viewed in light of the numerous similar statutory alterations

enacted by state legislatures nationwide in recent years. See,

e.g., 2016 S.D. Sess. Laws Ch. 180 (S.B. 72) (amending the

medical exception to apply only in the event of a “medical

emergency,” when the prior version of this statute permitted

post-twenty-week abortions if “necessary to preserve the life or

health of the mother”); 2014 Fla. Laws Ch. 2014–137 (C.S.H.B. No.

1047) (amending the medical exception to apply only when an

abortion is necessary to “avert a serious risk of substantial and

irreversible physical impairment of a major bodily function of

the pregnant woman other than a psychological condition” rather

than simply to “preserve the health of the pregnant women”).

     This court concludes that the 2016 amendment altered the

maternal health exception to the twenty-week ban by narrowing the

universe of abortions that are permissible under this exception.

                                - 21 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 21 of 48
First, the amendment restricts the health exception to cover only

those conditions that create a “serious risk of substantial and

irreversible physical impairment of a major bodily function,”

rather than merely a “substantial risk . . . [to] the health of

the woman.” Second, the amendment narrows the threshold medical

determination of what conditions qualify for the exception,

because a physician must now determine that the condition

“necessitates” an “immediate” abortion. This means that medical-

exception abortions are no longer permissible for conditions that

cause gradual health damage but never, at any specific point,

reach the level of immediacy required under the statute. Third

and finally, the amendment explicitly excludes “any psychological

or emotional conditions” and threats of suicide or self-harm,

which were presumptively within the pre-amendment medical

exception if they created a substantial risk of gravely impairing

the mother’s health. See Stone, 514 U.S. at 397 (stating that an

amendment to statutory language is presumed to have “real and

substantial effect”).

     When one aspect of a statutory scheme is altered, this

creates a reasonable presumption that other changes may follow or

that the legislature’s general intentions regarding the

enforcement of the scheme is evolving. This is especially true

here, because the abortions that are carved out by the amended

medical emergency exception would still be legal but for the

                                - 22 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 22 of 48
continued presence of the twenty-week ban. In this court’s view,

it is not possible to sever the amendment’s effect from the ban

itself because these provisions work in tandem. Therefore, by

narrowing the maternal health exception to the twenty-week ban,

the 2016 amendment revived the threat of future prosecution under

the ban.

     This threat is slightly lower than would be present

following a newly-enacted ban, but greater than the threat that

would exist under a static statute where there had been no

prosecutions for over forty years. This court will now proceed to

determine whether either the openness of any alleged violations

of N.C. Gen. Stat. § 14-45.1 and related statutes or Defendants’

official disavowals mitigate this threat such that Plaintiffs

nevertheless lack standing to challenge the ban.

           2.   Open and Notorious Violations

     Plaintiffs’ discovery responses suggest that Plaintiffs are

complying with the ban by not providing abortions to patients

past the twentieth week of pregnancy. (See, e.g., Beverly Gray

Discovery Resps. (Doc. 53-2) at 4-5 (stating that Plaintiff

Gray’s practice turned away approximately ten to fifteen women

seeking an abortion after the twentieth week of their pregnancy

from 2014 to 2016.); Elizabeth Deans Discovery Resps. (Doc. 53–3)

at 8–10) (stating that Plaintiff Deans “does not recall

performing any abortion procedure in North Carolina after the

                                - 23 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 23 of 48
gestational limit set forth in N.C. Gen. Stat. § 14-45.1,”

despite her practice receiving requests to perform such

abortions).) There appears to be some dispute, however, regarding

whether past abortions provided by Plaintiffs after the twenty-

week point fell within the pre-amendment medical emergency

exception. (See Amy Bryant Discovery Resps. (Doc. 53–1) at 5

(describing a total of ten post-twenty-week abortions from 2014

to 2016 that Plaintiff Bryant asserts fell within the medical

exception to the ban); (see also Beverly Gray Disc. Resps. (Doc.

53-2) at 6 (stating that Plaintiff Gray performed a single

abortion procedure after twenty weeks between 2014 and 2016,

which fell within the exception).)

     This court agrees with the Magistrate Judge’s analysis that

Plaintiffs have not conclusively demonstrated that any post-

twenty-week abortions were in fact performed pursuant to the

statutory exception as it existed at the relevant time. (See

Recommendation (Doc. 71) at 10–11.) On the other hand, this court

recognizes that information or records that might prove the

actual medical diagnosis in each such case are likely both not in

Plaintiffs’ direct possession, (Elizabeth Deans Disc. Resps.

(Doc. 53–3) at 6 (stating that abortion records belong to the

medical center and may not be divulged for any purposes other

than client treatment)), and subject to medical privacy laws that

would prevent their disclosure into evidence. See, e.g., 42

                                - 24 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 24 of 48
U.S.C. § 1320d–6(a)(3) (describing penalties for “disclos[ing]

individually identifiable health information to another person”);

10A N.C. Admin. Code 13B.3903 (restricting access to medical

records and stating that records are the exclusive “property of

the hospital”).

     In any event, Defendants have provided nothing to dispute

Plaintiffs’ contention that their North Carolina abortion

practices have turned away women seeking abortions after the

twentieth week of pregnancy. First, even if this court is to

assume for argument that Plaintiffs have not scrupulously adhered

to the terms of the medical exception (which this court is not

able to determine without further evidence), there is nothing in

the record to suggest that these were open or notorious

violations. This court does not believe that a mis-interpretation

of the medical exception constitutes an open or public violation

of anything — it certainly does not equate, for example, to an

abortion clinic openly advertising to the public that it will

provide post-twenty-week abortions. To be relevant to the

standing analysis, violations must be open and public;

specifically, they must be known to law enforcement or state

authorities or easily uncovered. See Ullman, 367 U.S. at 502

(stating that “ubiquitous, open, public sales would mere quickly

invite the attention of enforcement officials” and finding that

this fact weighed against standing); S.F. Cty. Democratic Cent.

                                - 25 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 25 of 48
Comm. v. Eu, 826 F.2d 814, 822 (9th Cir. 1987) (finding no open

violations where “plaintiffs’ uncontroverted affidavits show that

they have consistently, if reluctantly, obeyed the statutes in

conducting party affairs”). Violations must be public because

surreptitious, well-concealed violations of a statute suggest

little about the state’s desire to prosecute offenders and

because an individual’s right to engage in constitutionally-

protected conduct is not contingent upon avoiding public

discovery.

     According to affidavits submitted by Defendants, information

about the medical determination of whether a certain patient

meets the emergency exception to the twenty-week ban is

confidential and is “not disclosed publicly . . . [and] never

provided to law enforcement officials.” (Affidavit of Eleanor

Howell, M.S. (“Howell Aff.”) (Doc. 80) ¶ 4.) Any violations here,

occurring as they would in the private doctor-patient setting,

simply do not come close to the public, open contraceptive sales

that the Supreme Court emphasized in Ullman. This court finds,

based on the record in this case, no open and notorious

violations of the twenty-week ban.

          3.   Government Statements regarding Prosecution

     Defendants have submitted to this court a set of e-mail

messages and affidavits in which they profess certain intentions

regarding the enforcement of N.C. Gen. Stat. § 14-45.1 and

                                - 26 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 26 of 48
related statutes criminalizing certain abortions. (See Docs. 80

and 81.) Defendants urge this court to find that these documents

negate standing as a matter of law because they represent an

official statement that violations of § 14-45.1 and related

statutes will not be prosecuted. In other words, Defendants

appear to argue that the legal authority of the e-mails are of no

consequence; rather, the mere fact that Defendants have provided

these e-mails should, by itself, settle the issue of standing.

(Defs.’ Resp. (Doc. 76) at 8.)

     This court cannot accept Defendant’s contention that the

inquiry begins and ends with the existence of official statements

disavowing prosecution. Indeed, this cannot be true because the

Fourth Circuit and other circuit courts have evaluated in detail

the legal force of prosecutorial disavowals in the standing

context. See, e.g., EQT Prod. Comp. v. Wender, 870 F.3d 322, 331

(4th Cir. 2017) (finding that the plaintiffs had standing to

challenge a county ordinance that, by its plain language,

precluded them from storing wastewater, despite the county’s

official position that the ordinance did not apply to plaintiffs’

activities; stating that “the County's litigation position cannot

override the plain text of the Ordinance when it comes to

establishing a credible threat of enforcement”); Va. Soc. for

Human Life, 263 F.3d at 387–89 (finding that an official policy

statement to the effect that a law would not be enforced, while

                                - 27 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 27 of 48
more formal than a nonbinding promise, was not sufficient to

negate the credible threat of prosecution because it did not

carry the force of law and was subject to change if the agency’s

membership changed), overruled on other grounds by The Real Truth

About Abortion, Inc. v. Fed. Elec. Comm’n, 681 F.3d 544 (4th Cir.

2012); see also Chamber of Commerce v. Fed. Elec. Comm’n, 69 F.3d

600, 603 (D.C. Cir. 1995) (where the FEC split 3-3 on whether to

issue an advisory opinion stating that certain contemplated

conduct was barred by newly-adopted regulatory language, this

failure to opine did not negate the credible threat of

prosecution even though a majority vote of the commission would

be needed to initiate any prosecution; noting that only one

commissioner would need to change his mind in order to enforce

the rule).

     Because the credible threat inquiry is a balancing test, see

Thomas, 220 F.3d at 1139, no one factor is dispositive and each

factor — the past record of prosecutions and statutory history,

the presence of open violations, and any disavowal of future

prosecution — should be weighed to determine its proper impact on

the result. An unequivocal government disavowal backed by the

full force of law and binding upon successors will weigh heavily

against standing because such a statement can reasonably be

relied upon. On the contrary, an isolated statement or message

subject to the changing whims of individual government officials

                                - 28 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 28 of 48
and without force to bind successors does little to address the

fear that one might be prosecuted under the statute tomorrow,

were those officials to change course. See Va. Soc. for Human

Life, 263 F.3d at 380 (“The Commissioners who adopted the policy

might be replaced with ones who disagree with it, or some of the

Commissioners who voted might change their minds. A simple vote

of the Commission, in other words, could scuttle the policy.”).

Here, the e-mail messages submitted by Defendants suffer from a

fundamental flaw separate and apart from the question of their

legal force. Two of the three statements do not describe the

government’s future intentions regarding N.C. Gen. Stat.

§ 14-45.1 and related statutes; rather, they speak only in

present terms. (See Affidavit of Isham Faison Hicks (“Hicks

Aff.”) (Doc. 81) at 4 (e-mail from Defendant Jim Woodall stating

that he has “no present intentions to initiate criminal

prosecutions arising out of the alleged violation of the 20-week

abortion rule”) (emphasis added)); (see also Howell Aff. (Doc.

80) ¶ 4(describing the DHHS policy to treat all patient

information as confidential, stating that “DHHS has no present

intention of deviating from this practice”) (emphasis added).)

     Where, as here, the government has not prosecuted anyone

under the ban for over forty years, the only risk to Plaintiffs

(that could create a credible threat of prosecution) is the

possibility that Defendants may choose to initiate prosecutions

                                - 29 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 29 of 48
in the future. Any disavowal is relevant only to the extent that

it describes the government’s future intentions. Plaintiffs are

undoubtedly aware that North Carolinians are not currently being

prosecuted under N.C. Gen Stat. § 14-45.1 and related statutes,

and do not need government assurance in this regard. They do,

however, need government assurance about future prosecution in

light of the 2016 amendment. Defendant Woodall’s e-mail and

Director Howell’s affidavit each fail to provide this assurance.

     Having concluded that Defendant Woodall’s e-mail and

Director Howell’s affidavit contain no information regarding the

possible future enforcement of N.C. Gen. Stat. § 14-45.1(a) and

related statutes, this court is left with the e-mail message from

Defendant Roger Echols in which Echols states that he “won’t

initiate any criminal prosecutions arising out of the alleged

violation of the 20-week abortion rule set out in NCGS 14-45 and

45.1 in Durham County.” (Hicks Aff. (Doc. 81) at 3.) There is no

indication that this promise in any way binds Defendant Echols’

successor as Durham County District Attorney, who took office in

January 2019. 8

     This court notes three cases from the Tenth Circuit finding

that an official disavowal negates the credible threat of


     8 See Virginia Bridges, Deberry defeats incumbent to win
race for Durham County district attorney, The Herald-Sun, May 8,
2018, available at https://www.heraldsun.com/news/politics-
government/elections/article210725259.html.
                                 - 30 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 30 of 48
enforcement even when it does not entirely eliminate the

possibility of prosecution, and that a district attorney’s

unilateral decision not to prosecute offenders, even if not

binding on successors or those outside the district, 9 is a

substantial factor that weighs against standing. See Bronson, 500

F.3d at 1108–09; Winsness, 433 F.3d at 732–33; D.L.S. v. Utah,

374 F.3d 971, 975 (10th Cir. 2004). However, this approach

appears to be unique to the Tenth Circuit. The credible threat

inquiry is normally dependent upon several factors and a

government assurance alone (no matter its binding force) does not

automatically deprive plaintiffs of standing to challenge a law.

Additionally, each of the Tenth Circuit cases is distinguishable

from the facts here. D.L.S. dealt with a challenge to Utah’s

sodomy ban, which the Supreme Court’s ruling in Lawrence v.

Texas, 539 U.S. 558 (2003), implicitly invalidated. D.L.S., 374

F.3d at 975. The Lawrence holding provided an additional

guarantee to the D.L.S. plaintiff that the Utah statute would not

be enforced and that he could rely on the prosecutor’s

disavowals. Id. The other two cases, Winsness and Bronson, are


     9 In this particular case, whether an official disavowal
binds prosecutors outside of the prosecutorial districts in
which Plaintiffs operate is not relevant to Plaintiffs’ own
objective fears, as Defendants appear to have exclusive control
over prosecutorial decisions within these two districts. (See
Compl. (Doc. 1) ¶¶ 12–13.) Therefore, in this court’s view, the
geographic scope of Defendants’ disavowals in no way undermines
their effectiveness.
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    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 31 of 48
different from the instant case because each challenged statute

had existed for decades with no major amendments (approximately

fifty and one hundred years, respectively) at the time of the

lawsuit, and because each case involved an open, flagrant

violation of the relevant statute. See Bronson, 500 F.3d at 1102–

03 (stating that Utah’s polygamy ban was passed in 1895 and that

the plaintiffs had openly applied for a state marriage license in

violation of the ban); Winsness, 433 F.3d at 732 (stating that

the plaintiff engaged in public conduct, defacing a flag, that

violated Utah Code § 76–9–601, a statute that had been in effect

since at least 1953).

     This court will finally note that it considers Defendants’

strident defense of this case, as well as the wave of similarly-

worded statutes passed by other state legislatures in recent

years, 10 to constitute evidence that Defendants have not entirely

disavowed future prosecutions under the twenty-week ban.

Defendants cannot on one hand disavow prosecution, but on the

other hand, defend the law as a constitutional exercise of state


     10See, e.g., Ark. Code § 20–16–1405(a)(1) (twenty-week ban
enacted in 2013); Iowa Code § 146B.2(2)(a) (twenty-week ban
enacted in 2017); Wis. Stat. § 253.107(3) (twenty-week ban
enacted in 2016). Actual prosecutions under such bans are rare.
Cf. Patel v. State, 60 N.E.3d 1041, 1056–60 (Ind. Ct. App. 2016)
(determining that a feticide statute was not intended to cover
abortions performed in violation of Indiana’s twenty-week ban;
while the court suggested the defendant could have been charged
with violating the ban, prosecutors instead charged homicide of
a born-alive fetus).
                                 - 32 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 32 of 48
authority. To this court, the most reasonable inference from such

conduct is that Defendants hope to ensure the ban remains on the

statute books to deter doctors from providing any post-twenty-

week abortions while not actively investigating or initiating any

criminal prosecutions under the ban. But if Plaintiffs are

reasonably deterred from providing these abortions by the mere

presence of the ban, they have suffered a potential

constitutional injury. 11

     This deterrent impact is similar to the First Amendment’s

chilling effect doctrine: where a law reasonably dissuades

individuals from engaging in constitutionally-protected speech

for fear of criminal punishment, this chilling effect itself may

form the basis for legal challenge. See, e.g., Younger, 401 U.S.

at 50–51 (describing the chilling effect doctrine and stating

that the effect of an overbroad statute on constitutional rights

must be major and not outweighed by a legitimate state interest

in “enforcing these laws against socially harmful conduct”);

Walker v. City of Birmingham, 388 U.S. 307, 345 (1967)

(emphasizing the “overriding duty to insulate all individuals



     11This would be an entirely different case if there was any
evidence that Plaintiffs had openly provided or advertised post-
twenty-week abortions in violation of the statute. But, as
previously discussed, the only potential statutory violations
here arise solely from interpretation of the medical emergency
exception in a private medical setting, not from any open,
flagrant violations of the ban itself.

                                 - 33 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 33 of 48
from the chilling effect upon exercise of First Amendment

freedoms generated by vagueness, overbreadth and unbridled

discretion”). In the same way, a statute that reasonably deters

individuals from a constitutionally-protected sphere of

individual freedoms, including the right to choose to have an

abortion prior to viability, is susceptible to challenge due to

such deterrence. 12

       While there may be certain statutes that have fallen into

such disuse that no reasonable person would be deterred by their

mere presence on the books, N.C. Gen. Stat. § 14-45.1(a) is not

among them. In light of the 2016 amendment and their vigorous

defense of the ban on constitutional grounds, Defendants’

disavowals provide little assurance to providers who would offer

abortions after the twenty-week point of a pregnancy but for the

ban.

            4.   Conclusion

       The Article III standing limitations are a vital restraint

on the federal judicial power. See Duling, 782 F.2d at 1205 (“The

case or controversy requirement maintains proper separation of


       12
       While this court does not necessarily dispute Defendants’
contention that the state has a legitimate public health
interest in banning post-twenty-week abortions, (see Defs.’
Resp. Br. (Doc. 52) at 10), this interest does not outweigh the
ban’s encroachment in a constitutionally-protected sphere given
the Supreme Court’s clear pronouncements on the pre-viability
right to choose to have an abortion. See, e.g., Roe v. Wade, 410
U.S. 113, 163–64 (1973).
                                 - 34 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 34 of 48
powers between courts and legislatures, provides courts with

arguments sharpened by the adversarial process, and narrows the

scope of judicial scrutiny to specific facts.”). The standing

requirements do not, however, sanction objectively-present

constitutional injury. Further, this court finds that it “should

not lightly determine that a statute has fallen into desuetude.”

S.F. Cty., 826 F.2d at 822 n.15. A state may suddenly decide to

resume prosecutions under a seemingly languid and inert law, and

laws that potentially restrict protected conduct may be used in

novel or unexpected ways by private citizens. See, e.g., Griswold

v. Connecticut, 381 U.S. 479, 480 (1965) (stating that

Connecticut prosecuted and fined two doctors for selling

contraceptives in violation of Conn. Gen. Stat. §§ 53–32 and 54–

196, the very same statutory provisions under which the Supreme

Court four years earlier in Ullman found no credible threat of

prosecution); Martin v. Ziherl, 269 Va. 35, 38–39, 607 S.E.2d

367, 368 (Va. 2005) (striking down Va. Code § 18.2–344, the

fornication ban at issue in Duling, as unconstitutional under

Lawrence v. Texas, when the law was used to support a tort action

alleging intentional infection with a sexually-transmitted

disease).

     With these principles in mind, this court ultimately finds

that the recent amendment to N.C. Gen. Stat. § 14-45.1, when

viewed together with Plaintiffs’ apparent compliance and

                                - 35 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 35 of 48
Defendants’ failure to fully disavow future enforcement of the

ban, illustrate that the threat of prosecution under this statute

is credible. Therefore, this court finds that Plaintiffs have

standing to challenge N.C. Gen. Stat. § 14-45.1(a).

V.    SUMMARY JUDGMENT

      A.   Standard of Review

      In reviewing a motion for summary judgment, this court must

determine whether there remains a “genuine dispute as to any

material fact.” Fed. R. Civ. P. 56(a). “On summary judgment the

inferences to be drawn from the underlying facts . . . must be

viewed in the light most favorable to the party opposing the

motion.” United States v. Diebold, Inc., 369 U.S. 654, 655 (1962)

(per curiam). If there is no genuine dispute about any fact

material to the moving party’s claim, then “the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

      A factual dispute is genuine “if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); see

also First Nat’l Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253,

289–90 (1968) (stating that a dispute is not genuine for summary

judgment purposes when one party rests solely on allegations in

the pleadings and does not produce any evidence to refute

alternative arguments). This court must look to substantive law

to determine which facts are material — only those “facts that

                                  - 36 -



     Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 36 of 48
might affect the outcome of the suit under the governing law will

properly preclude the entry of summary judgment.” Anderson, 477

U.S. at 247.

     However, “the mere existence of some alleged factual dispute

between the parties will not defeat an otherwise properly

supported motion for summary judgment”; rather, the court must

examine the alleged disputed facts to determine whether (1) the

disputes are genuine and (2) the facts are material to the

outcome. Id. at 247-48. “[T]he non-moving party must do more than

present a ‘scintilla’ of evidence in its favor.” Sylvia Dev.

Corp. v. Calvert Cty, Md., 48 F.3d 810, 818 (4th Cir. 1995).

Ultimately, “there is no issue for trial unless there is

sufficient evidence favoring the nonmoving party for a jury to

return a verdict for that party.” Anderson, 477 U.S. at 249.

     B.   Legal Framework

     Defendants and their amici mis-interpret Supreme Court

precedent, which this court is bound to follow, as it relates to

pre-viability abortions. The Supreme Court has indeed held that

“the State has legitimate interests from the outset of the

pregnancy in protecting the health of the woman and the life of

the fetus that may become a child.” Planned Parenthood of

Southeastern Pa. v. Casey, 505 U.S. 833, 846 (1992) (plurality

opinion). The Supreme Court has also clearly declared that,

“[b]efore viability, the State’s interests are not strong enough

                                - 37 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 37 of 48
to support a prohibition of abortion.” Id.; see also Gonzales v.

Carhart, 550 U.S. 124, 146 (2007) (explaining the Casey holding

and reaffirming that states may not prevent a woman from

terminating her pregnancy prior to viability). In other words,

”[e]ven in the earliest stages of pregnancy, the State may enact

rules and regulations designed to encourage [the mother]” to

choose to continue her pregnancy if those regulations do not

impose an undue burden; however, a state may not ban abortions at

any point prior to viability. Casey, 505 U.S. at 872–74. These

directives are neither complex nor contradictory: a state is

never allowed to prohibit any swath of pre-viability abortions

outright, no matter how strenuously it may believe that such a

ban is in the best interests of its citizens or how minimal it

may find the burden to women seeking an abortion.

     The Supreme Court has recognized that, while viability is

the point at which the state’s legitimate interest rises to a

level that may support an outright ban (with appropriate health

exceptions), viability does not occur at a fixed number of weeks

after the pregnancy begins but rather is determined individually

in each case by a doctor. See Roe, 410 U.S. at 160 (“Viability is

usually placed at about seven months (28 weeks) but may occur

earlier, even at 24 weeks.”) (footnote omitted); Casey, 505 U.S.

at 860 (affirming Roe’s focus on viability but noting that the

average point of viability had advanced significantly even in the

                                - 38 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 38 of 48
twenty years since Roe was decided). Indeed, the Supreme Court

has further stressed that “it is not the proper function of the

legislature or the courts to place viability, which essentially

is a medical concept, at a specific point in the gestation

period.” Planned Parenthood of Cent. Mo. v. Danforth, 428 U.S.

52, 64 (1976); see also Colautti v. Franklin, 439 U.S. 379, 388-

89 (1979) (“Because this point may differ with each pregnancy,

neither the legislature nor the courts may proclaim one of the

elements entering into the ascertainment of viability — be it

weeks of gestation or fetal weight or any other single factor —

as the determinant of when the State has a compelling

interest.”).

     Because viability is the relevant guidepost under Supreme

Court precedent, many states have chosen to proscribe abortion

after viability rather than enacting a week-specific ban. 13 See,

e.g., Mo. Stat. § 188.030(1) (“Except in the case of a medical

emergency, no abortion of a viable unborn child shall be


     13Other states have implemented a week-specific ban that is
longer than twenty weeks. See, e.g., W. Va. Code § 16–2M–4(a)
(prohibiting abortion once “the fetus has reached the pain
capable gestational age,” which is defined as twenty-two weeks
after the last menstrual period); Mass. Gen. Laws § 12M (twenty-
four-week ban); but see Danforth, 428 U.S. at 64 (“[I]t is not
the proper function of the legislature or the courts to place
viability, which essentially is a medical concept, at a specific
point in the gestation period.”). Yet another approach is to
impose a week-specific ban but permit abortions of non-viable
fetuses no matter the gestational age. See, e.g., Kan. Stat.
§ 65–6703(c).
                                 - 39 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 39 of 48
performed or induced.”); Del. Code § 1790(b) (stating that “[a]

physician may not terminate . . . a human pregnancy otherwise

than by birth after viability” unless pursuant to a statutory

medical exception). It is not within this court’s mandate to

opine on the wisdom of using viability as the pivotal point. 14

The Supreme Court has made that decision. This court’s sole job

is to apply the viability framework to the facts of this case.

     C.   Analysis

     The only fact material to Plaintiffs’ claim is whether N.C.

Gen. Stat. § 14-45.1(a) and related statutes prohibit any pre-

viability abortions. Defendants, however, offer three issues that

they contend are disputed material facts in this case. (See

Defs.’ Resp. Br. (Doc. 52) at 6–7.) First, Defendants urge that


     14Justice White articulated the main concern about using
viability as the cutoff while dissenting from the Supreme
Court’s holding in Thornburgh v. American College of
Obstetricians and Gynecologists, 476 U.S. 747 (1986), overruled
by Casey, 505 U.S. 833 (1992). Specifically, Justice White
observed that:

     The substantiality of [the state’s interest in
     protecting fetal life] is in no way dependent on the
     probability that the fetus may be capable of surviving
     outside the womb at any given point in its
     development, as the possibility of fetal survival is
     contingent on the state of medical practice and
     technology, factors that are in essence morally and
     constitutionally irrelevant. The State's interest is
     in the fetus as an entity in itself, and the character
     of this entity does not change at the point of
     viability under conventional medical wisdom.

Id. at 795 (White, J., dissenting).
                                 - 40 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 40 of 48
the point of viability is a fact in genuine dispute. However, as

discussed above, the Supreme Court has held that the particular

point at which viability occurs is legally irrelevant and will

necessarily vary under the specific circumstances of each

pregnancy. Casey, 505 U.S. at 870. Defendants state in their

opposition brief that “evidence developed during expedited

discovery tends to show that viability is possible by 22 weeks

lmp.” (Defs.’ Resp. Br. (Doc. 52) at 9.) This court infers from

Defendants’ statement that they concede viability is generally

not possible between twenty and twenty-two weeks after a woman’s

last menstrual period (“LMP”), 15 which means that the ban clearly




     15Although N.C. Gen. Stat. § 14-45.1 and related statutes
do not specifically define the starting point from which a
pregnancy is to be measured, Defendants’ expert Dr. Martin J.
McCaffrey states that the legal prohibition is intended to cover
abortions occurring after twenty weeks LMP. (See McCaffrey Dep.
(Doc. 53-5) at 19); see also Comprehensive Health of Planned
Parenthood, Inc. v. Templeton, 954 F. Supp. 2d 1205, 1213 n.4
(D. Kan. 2013) (“The exact date of fertilization is rarely
known; it typically occurs 14 days after the first day of the
LMP, which means that a gestational age referred to in terms of
fertilization is typically two weeks earlier than one measured
by the LMP.”).

                                 - 41 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 41 of 48
encompasses at least some pre-viability abortions. 16 Even if it

did not, however, the week-specific point of viability cannot be

relevant to this dispute because the Supreme Court has clearly

advised that a state legislature may never fix viability at a

specific week but must instead leave this determination to

doctors. Danforth, 428 U.S. at 64. Any dispute as to the specific

point of viability is not material to Plaintiffs’ claim and

cannot preclude summary judgment. 17




     16Defendants’ expert medical witness also concedes that a
fetus is almost never viable prior to twenty-two weeks LMP.
(McCaffrey Dep. (Doc. 53-5) at 121, 124–25.) As the Supreme
Court has instructed, the legal definition of viability is time
at which the fetus “has the capability of meaningful life
outside the mother’s womb.” Roe, 410 U.S. at 163; see also
Casey, 505 U.S. at 870. This definition could be read to require
a chance of independent survival, without medical intervention,
in which case the ban covers an even larger number of non-viable
fetuses. (See McCaffrey Dep. (Doc. 53–5) at 118 (describing
medical interventions normally needed for twenty-two-week
fetuses to survive).)

     17This court further notes Defendants’ assertion that the
unreliability of gestational age estimates may create a genuine
factual issue. (Defs.’ Resp. Br. (Doc. 52) at 10; see also Thorp
Dep. (Doc. 59-1) at 4.) However, this court does not understand
Defendants to argue that such estimates are so imprecise as to
raise an issue of whether the viability of all fetuses might in
fact occur at or prior to twenty weeks LMP. Because Casey and
other Supreme Court cases teach that viability is the critical
point and that viability cannot be fixed and is a case-by-case
medical determination subject to change due to technological
advances, the reliability of gestational age estimates (like the
point of viability itself) is not a factor in the judicial
determination of whether a state statute complies with the Casey
framework.

                                 - 42 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 42 of 48
     Second, Defendants argue that a material dispute exists as

to whether the state’s interest in protecting maternal health —

specifically, the state’s interest in preventing complications

from abortion and protecting against the risk of future medical

conditions and possible future premature births — is sufficiently

compelling to support the ban. (Defs.’ Resp. Br. (Doc. 52) at 6;

see also McCaffrey Dep. (Doc. 53–5) at 188 (“[P]rior surgical

abortion certainly is associated with a future preterm birth.”).)

But Casey is quite clear on this point: no matter what the

state’s legitimate interest in restricting abortion, this

interest can never support an outright ban prior to viability.

Casey, 505 U.S. at 846 (“Before viability, the State's interests

are not strong enough to support a prohibition of abortion or the

imposition of a substantial obstacle to the woman's effective

right to elect the procedure.”). While not titled as such, N.C.

Gen. Stat. § 14-45.1(a) is a ban and not a regulation. In

conjunction with §§ 14–44 and 14–45, North Carolina law

criminalizes all non-emergency abortions performed after twenty

weeks, without regard to the type of procedure or how the

abortion is obtained. Because N.C. Gen. Stat. § 14-45.1(a) and

related statutes operate as a total ban after twenty weeks, any

dispute as to the nature or force of the state’s interest in

addressing maternal health risks from abortion is immaterial as



                                - 43 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 43 of 48
it relates to the statute’s prohibition of pre-viability

abortions.

     Finally, Defendants urge that there is a genuine dispute

regarding the actual burden that the statute places on women

seeking abortions, primarily because Defendants question whether

Plaintiffs have shown that any (or, in the alternative, a

substantial number of) women seek post-twenty-week abortions in

North Carolina. (Defs.’ Resp. Br. (Doc. 52) at 11.) However,

Defendants improperly invoke the undue burden standard which,

under Casey and its progeny, applies only to a pre-viability

regulation. See, e.g., Gonzales, 550 U.S. at (stating that the

undue burden standard applies to pre-viability state regulations,

evaluating and striking down a state law prohibiting only a

specific type of abortion procedure under this standard). As

described above, the North Carolina statutes operate as a total

ban, not a regulation, after twenty weeks. See Isaacson, 716 F.3d

at 1226 (holding that a similar twenty-week provision was a ban,

not a regulation, because it “does not just restrict a woman's

right to choose a particular method of terminating her pregnancy

before viability; it eliminates a woman's right to choose

abortion itself”) (internal quotation marks omitted). Casey’s

clear dictate applies in this case: state law cannot impose an

outright ban that prevents a “woman [from] choos[ing] to have an

abortion before viability . . . .” Casey, 505 U.S. at 846.

                                - 44 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 44 of 48
     D.   Conclusion

     There is no genuine dispute as to any material fact

necessary to Plaintiffs’ constitutional claim. Plaintiffs’ motion

for summary judgment will be granted and the enforcement of N.C.

Gen. Stat. § 14-45.1(a) will be enjoined. Finally, this court

notes briefly that its ruling accords universally 18 with those of

other federal courts that have considered the constitutionality

of twenty-week bans and similar week- or event-specific abortion

bans. See, e.g., McCormack v. Herzog, 788 F.3d 1017, 1029 (9th

Cir. 2015) (striking down Idaho’s twenty-week ban; stating that,

“[b]ecause § 18–505 places an arbitrary time limit on when women

can obtain abortions, the statute is unconstitutional”);

Isaacson, 716 F.3d at 1228-29 (striking down Arizona’s twenty-

week ban, finding that the statute violated “the Supreme Court's

clear rule that no woman may be entirely precluded from choosing

to terminate her pregnancy at any time prior to viability”); Jane



     18The only circuits to have considered the constitutionality
of similar statutes are the Eighth, Ninth, and Tenth Circuits.
The states, other than North Carolina, that currently have a
twenty-week or twenty-two-week abortion ban in place are:
Alabama, Arkansas, Georgia, Indiana, Iowa, Kentucky, Louisiana,
Mississippi, Nebraska, North Dakota, Ohio, Oklahoma, South
Carolina, South Dakota, Texas, West Virginia, and Wisconsin
(these laws vary in terms of using fertilization or LMP as the
starting point of a pregnancy). As no such bans exist in any
states within the First, Second, or Third Circuits, the cases
cited represent perhaps a more unified consensus than their
geographic concentration might suggest.

                                 - 45 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 45 of 48
L. v. Bangerter 19, 102 F.3d 1112, 1116–18 (10th Cir. 1996)

(striking down Utah’s twenty-week abortion ban under the “undue

burden” standard); see also MKB Mgmt. Corp. v. Stenehjem, 795

F.3d 768, 773–76 (8th Cir. 2015) (striking down North Dakota’s

fetal heartbeat law, which banned abortion at the moment a

heartbeat was detected; noting problems with the continued use of

the viability standard); Edwards v. Beck, 786 F.3d 1113, 1117

(8th Cir. 2015) (per curiam) (striking down Arkansas’ fetal

heartbeat law); Jackson Women’s Health Org. v. Currier, 349 F.

Supp. 3d 536, 538, 545 (S.D. Miss. 2018) (enjoining a Mississippi

law that banned abortions after fifteen weeks; Mississippi still

bans abortion at twenty weeks LMP under Miss. Code § 41-41-137),

appeal docketed sub nom, Jackson Women’s Health Org. v. Thomas

Dobbs, No. 18-60868 (5th Cir. Dec. 17, 2018).




     19The Bangerter court analyzed Utah’s twenty-week ban under
the “undue burden” standard. While this approach does not change
the result, because a ban by its very nature unduly burdens the
abortion decision, this court considers that approach incorrect
because Casey states that the undue burden standard applies only
to regulations that “ensure [the] choice is thoughtful and
informed” and not to laws that take away entirely the mother’s
“right to choose to terminate or continue her pregnancy before
viability.” Casey, 505 U.S. at 872. As to outright bans, Casey
is clear that it does not abrogate Roe’s central holding: a
state may not ban abortion prior to viability. Id. at 860
(affirming “Roe’s central holding, that viability marks the
earliest point at which the State's interest in fetal life is
constitutionally adequate to justify a legislative ban on
nontherapeutic abortions”).
                                 - 46 -



    Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 46 of 48
VI.    CONCLUSION

       For the foregoing reasons, this court finds that Plaintiffs

have standing to challenge the twenty-week abortion ban set forth

in N.C. Gen. Stat. § 14-45.1(a) and related statutes. This court

further finds that Plaintiffs’ second motion for summary judgment

should be granted and that N.C. Gen. Stat. § 14-45.1(a) should be

enjoined.

       In addition to § 14-45.1(a), Plaintiffs further request that

this court find unconstitutional and enjoin the enforcement of

N.C. Gen. Stat. §§ 14–44, 14–45, and 14–45.1(b). (See Doc. 44 at

2; Compl. (Doc. 1) ¶ 55.) While recognizing that the deletion of

N.C. Gen. Stat § 14–45.1(a) would effectively criminalize all

non-medical-emergency abortions in North Carolina, see N.C. Gen.

Stat. § 14–44, this court further notes that Plaintiffs’

requested relief would have the effect of legalizing abortion up

to the point of birth. However, the North Carolina legislature,

in passing these statutes, has expressed a clear intent to limit

abortion as may be permitted by law. This court declines to act

in a manner that would deprive the North Carolina legislature the

opportunity, in the first instance, to either pass legislation or

challenge this decision on appeal, whichever they decide may be

in the interests of the citizens they represent. This court will,

therefore, order the enforcement of N.C. Gen. Stat. § 14–45.1(a)

enjoined, only to the extent that the statute prohibits any pre-

                                   - 47 -



      Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 47 of 48
viability abortions. This court will further stay its order for a

period of sixty days from the date hereof to permit full

consideration of legislative alternatives or an appeal of this

judgment.

     IT IS THEREFORE ORDERED that the Memorandum Opinion, Order,

and Recommendation, (Doc. 71), is NOT ADOPTED for the reasons

stated herein.

     IT IS FURTHER ORDERED that Plaintiffs’ Second Motion for

Summary Judgment, (Doc. 44), is GRANTED.

     IT IS FURTHER ORDERED that N.C. Gen. Stat. § 14-45.1(a) is

hereby declared unconstitutional and the enforcement of N.C. Gen.

Stat. § 14-45.1(a) is ENJOINED only to the extent that N.C. Gen.

Stat. § 14–45.1(a) prohibits any pre-viability abortions.

     IT IS FURTHER ORDERED that the above order enjoining

enforcement of N.C. Gen. Stat. § 14–45.1(a) is STAYED for a

period of sixty (60) days from the date hereof.

     A judgment for Plaintiffs shall be entered upon the

expiration of the stay described above.

     This the 25th day of March, 2019.



                             ____________________________________
                                 United States District Judge




                                - 48 -



   Case 1:16-cv-01368-WO-LPA Document 84 Filed 03/25/19 Page 48 of 48
